          UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT




   STATE OF DELAWARE, ex rel. KATHLEEN
   JENNINGS, ATTORNEY GENERAL OF THE STATE OF
   DELAWARE,

                         Plaintiff–Appellee,
                                                                 No. 22-01096
                         v.

   BP AMERICA INC., et al.,

                   Defendants–Appellants.




                     NOTICE OF WITHDRAWAL OF APPEARANCE

       Kathleen Taylor Sooy of Crowell & Moring LLP respectfully requests to withdraw her

appearances as counsel for CONSOL Energy Inc. (“CONSOL”). CONSOL will continue to be

represented by Tracy A. Roman and Honor R. Costello of Crowell & Moring LLP.

January 6, 2023                                Respectfully submitted,

                                                /s/ Kathleen Taylor Sooy
                                               Kathleen Taylor Sooy
                                               CROWELL & MORING LLP
                                               1001 Pennsylvania Ave., N.W.
                                               Washington, DC 20004
                                               Telephone: 202-624-2500
                                               Email: ksooy@crowell.com
                                CERTIFICATE OF SERVICE

       On January 6, 2023, I caused this document to be filed with the Clerk of the Court through

the CM/ECF system, which will serve copies on all registered counsel.


                                                   /s/ Kathleen Taylor Sooy
                                                   Kathleen Taylor Sooy
